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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 Therisa D. Escue, Billy R. Escue,
 Jr., Kim Schelble, and Brian P.
 Weatherill, on behalf of themselves         Case No. 2:24-cv-10853-BRM-DRG
 and all others similarly situated,
                                             Hon. Brandy R. McMillion,
                          Plaintiffs,        United States District Judge

 v.                                          Hon. David R. Grand,
                                             Magistrate Judge
 United Wholesale Mortgage, LLC,
 UWM Holdings Corporation, SFS
 Holding Corp., and Mathew Randall
 Ishbia,

                         Defendants.


                   DEFENDANTS’ MOTION TO DISMISS

      Defendants hereby move, pursuant to Fed. R. Civ. P. 12(b)(6), to dismiss

Plaintiffs’ Complaint with prejudice. As explained in the accompanying brief, this

104-page Complaint reflects an unprecedented and coordinated effort to smear

United Wholesale Mortgage, LLC (“UWM”), its affiliates, and even its CEO—all

of which serves to benefit market speculators. More to the point, the Complaint is

legally meritless for dozens of overlapping reasons.

      As an initial matter, Plaintiffs failed to comply with the notice-and-cure

provision in their mortgage agreements, which bars their suit in full. Plaintiffs’
Case 2:24-cv-10853-BRM-DRG ECF No. 16, PageID.170 Filed 06/21/24 Page 2 of 60




RICO claims fail for lack of proximate causation, absence of a cognizable enterprise,

and failure to plead predicate acts of racketeering. They are also barred by the

economic loss doctrine and by the Real Estate Settlement Procedures Act

(“RESPA”). Plaintiffs’ claims under RESPA are time-barred, and the Complaint fails

to state a claim under that statute in any event. Plaintiffs’ claims for aiding and

abetting a breach of fiduciary duty and civil conspiracy fail for many reasons,

including because Plaintiffs failed to plead facts establishing a fiduciary relationship.

Plaintiffs cannot state a claim under any of the state consumer protection statutes

they invoke. They do not plead unjust enrichment. And their claims against UWM’s

holding companies and CEO suffer from a number of additional fatal flaws.

      For all of these reasons, as explained further in the accompanying brief, this

Court should grant Defendants’ Motion and dismiss the Complaint with prejudice.

 Dated: June 21, 2024                          Respectfully submitted,
                                               /s/ Jeffrey J. Jones
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 Therisa D. Escue, Billy R. Escue,
 Jr., Kim Schelble, and Brian P.
 Weatherill, on behalf of themselves     Case No. 2:24-cv-10853-BRM-DRG
 and all others similarly situated,
                                         Hon. Brandy R. McMillion,
                         Plaintiffs,     United States District Judge

 v.                                      Hon. David R. Grand,
                                         Magistrate Judge
 United Wholesale Mortgage, LLC,
 UWM Holdings Corporation, SFS
 Holding Corp., and Mathew
 Randall Ishbia,

                        Defendants.


      BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
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                  STATEMENT OF ISSUES PRESENTED

 1.   Do the notice-and-cure provisions in Plaintiffs’ mortgages bar this suit?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes

 2.   Do Plaintiffs fail to state a claim under RICO?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes

 3.   Do Plaintiffs fail to state a claim under RESPA?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes

 4.   Do Plaintiffs fail to state a claim for aiding and abetting breach of
      fiduciary duty and civil conspiracy?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes




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 5.   Do Plaintiffs fail to state a claim under the consumer protection laws of
      their respective states?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes

 6.   Do Plaintiffs fail to state a claim for unjust enrichment?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes

 7.   Do Plaintiffs fail to state a claim against the non-UWM Defendants?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes

 8.   Have Plaintiffs otherwise failed to state a claim for relief?

            Defendants’ answer: Yes

            Plaintiffs’ answer: No

            This Court should answer: Yes




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 United States v. Bestfoods,
   524 U.S. 51 (1998)




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                                 INTRODUCTION

       This putative class action is a transparent attempt to revive legal theories that

 two federal district courts have already rejected and to smear United Wholesale

 Mortgage, LLC’s (“UWM”) reputation, which serves to benefit speculators betting

 against UWM in the stock market. The Complaint takes aim at the wholesale

 mortgage industry, which provides a valuable alternative for borrowers who wish to

 work with independent mortgage brokers rather than navigate the retail mortgage

 market alone. Contrary to Plaintiffs’ disparaging rhetoric, UWM is the nation’s

 leading wholesale lender because UWM offers not only competitive rates, but also

 a faster, simpler, and more reliable borrowing experience for consumers using state-

 of-the-art technologies unmatched in the industry. As a result, mortgage brokers and

 borrowers return to UWM time and again.

       Plaintiffs are individuals who worked with three different mortgage brokers

 in three different states to obtain three different mortgage loans from UWM.

 Plaintiffs do not identify a specific lender that would have actually have offered

 them a better rate or better terms, much less any such lender that would have been

 able to match the efficiency and other qualitative benefits that UWM provides.

 Nevertheless, Plaintiffs suggest that their brokers were obligated to survey the

 universe of other lenders and to identify some unidentified, more favorable mortgage

 offering. By failing to do that and instead originating their loans with UWM,



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 Plaintiffs insist that their brokers caused them to pay more in interest or origination

 fees than they should have.

       According to Plaintiffs, however, their brokers were not acting alone. Setting

 its sights on UWM, the 104-page, media-craving Complaint alleges a vast

 conspiracy whereby UWM has “corrupted” tens of thousands of brokers and loan

 officers nationwide to keep borrowers away from supposedly superior mortgage

 offerings. How? Plaintiffs primarily blame UWM’s “All-In Initiative,” which

 restricts brokers who wish to originate loans with UWM from working with just two

 specific lenders whose business practices posed a threat to the wholesale channel.

 Plaintiffs also attack a common and economically rational provision allowing

 brokers to lock in a mortgage rate while a loan remains pending, as well as UWM’s

 program for brokers who participate in trainings, obtain certain levels of quality and

 compliance, and meet other standards and service requirements.

       Plaintiffs’ claims are meritless. Two federal courts—including one in this

 district—have already upheld UWM’s “All-In Initiative.” See Okavage Grp., LLC

 v. United Wholesale Mortg., 2024 WL 982380 (M.D. Fla. Feb. 6, 2024); United

 Wholesale Mortg., LLC v. America’s Moneyline, Inc., 2024 WL 1349301 (E.D.

 Mich. Mar. 29, 2024). In apparent response, entities with a financial interest in

 UWM’s downfall (and its competitors’ rise) coordinated with Plaintiffs’ counsel to

 file this suit just days after Judge Michelson ruled in America’s Moneyline. But this



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 suit is barred by Plaintiffs’ mortgage agreements, which require them to provide

 UWM notice and an opportunity to cure before racing to the courthouse. And each

 of the nine counts in the Complaint suffers from multiple fatal flaws.

       Plaintiffs’ RICO claims fail for the reasons most civil RICO suits do: lack of

 proximate causation, absence of a cognizable enterprise, and failure to plead

 predicate acts of racketeering. Those claims are also barred by the economic loss

 doctrine and the Real Estate Settlement Procedures Act (“RESPA”). Plaintiffs’

 RESPA claims are barred by that statute’s one-year limitations period, and Plaintiffs

 fail to state a claim under that Act in any event. Plaintiffs’ interrelated claims for

 aiding and abetting a breach of fiduciary duty and civil conspiracy fail for a number

 of reasons, not the least because mortgage brokers are not per se fiduciaries and

 Plaintiffs fail to plead facts establishing a fiduciary relationship. Plaintiffs cannot

 state a claim under any of the state consumer protection statutes they invoke.

 Plaintiffs’ tacked-on unjust enrichment claim must go the way of the others. And

 Plaintiffs’ claims against UWM’s holding companies and CEO fail for still more

 reasons—including that Plaintiffs do not allege that those Defendants actually

 engaged in any unlawful acts.

       This Court should put an end to this coordinated effort to tarnish UWM’s

 reputation, grant Defendants’ Motion, and dismiss the Complaint with prejudice.




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                                 BACKGROUND
       A.    UWM’s Wholesale Mortgage Business

       Homebuyers can get a mortgage in two ways. Compl. ¶ 23. They can secure

 a “retail” loan, which means they approach banks and other lenders directly and fend

 for themselves during the mortgage process. See id. ¶ 24. Or they can seek out a

 “wholesale” loan, which means they work with a mortgage broker who can help

 guide them through the mortgage process. See id. ¶ 25.

       Wholesale mortgages offer many advantages over retail mortgages. Given

 market dynamics and inefficiencies in the retail space, wholesale loans often offer

 better rates and lower costs. Independent brokers can also help provide a better

 experience for borrowers and, very often, a better deal. Nevertheless, the retail

 market is much larger than the wholesale one. As of the end of 2023, just a quarter

 of all mortgages were obtained through the wholesale market. Id. ¶ 90 fig. 11.

       UWM operates exclusively in the wholesale space. (“Wholesale,” after all, is

 the “W” in its name.) Because brokers are UWM’s connection to borrowers,

 supporting brokers in growing their own businesses and cultivating relationships

 with them is a keystone of UWM’s business. UWM does that by providing brokers

 and their customers not only with competitive rates and low fees, but also with the

 many other things important to borrowers—quicker turnaround times, easier

 approval processes, fewer loan contingencies, more streamlined appraisals, and

 better service. Using state-of-the-art, in-house technologies, UWM loans on average

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 close in just 17 business days, compared to the industry average of 41 business days.

 UWM Holdings Corp., Annual Report (Form 10-K) at 5 (Feb. 28, 2024).

        UWM’s commitment to its brokers and their customers has paid off. Since

 2012, it has grown from the eighth largest wholesale lender to the largest.1 UWM

 has achieved that growth because brokers and borrowers are happy with UWM’s

 services and so return to UWM again and again. While the Complaint tries to cast

 repeat business as something nefarious, e.g., Compl. ¶¶ 68–69, it is an essential part

 of growing any business and the result of the unique value UWM provides—tireless

 customer service, cutting-edge technology, and unmatched speed and reliability.

        B.    The Wholesale Broker Agreement

        Brokers and wholesale lenders enter agreements that govern their

 relationships. Those agreements generally address the broker’s and the lender’s

 responsibilities during the mortgage process, the broker’s fee, the underwriter’s role,

 and many other aspects of the broker-lender relationship. See, e.g., Ex. 1 (Wholesale

 Broker Agreement).2 The Complaint takes aim at two features of UWM’s Wholesale

 Broker Agreement that it labels the “All-In Initiative” and the “Lock-In Provision.”


    1
      Compare Inside Mortg. Fin., Top Broker and Correspondent Producers 2012
 (Compl. ¶ 39 n.32), https://tinyurl.com/sdtyvdyd, with Inside Mortg. Fin., Top 50
 Mortgage Lenders: 12M23 (published Jan. 25, 2024) (Compl. ¶ 40 n.35),
 https://tinyurl.com/25nkn729.
    2
      UWM’s Wholesale Broker Agreement is “referred to in the [C]omplaint and
 central to the claims contained therein,” so the Court may consider it. Stein v.
 Hhgregg, Inc., 873 F.3d 523, 528 (6th Cir. 2017); see, e.g., Compl. ¶ 48.

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       The All-In Initiative. In March of 2021, UWM put forward an amendment to

 its Wholesale Broker Agreement that the Complaint refers to as the “All-In

 Initiative.” Compl. ¶ 52 fig. 3. The proposed amendment asked brokers who wish

 to continue working with UWM to refrain from originating loans with Rocket

 Mortgage or Fairway Independent Mortgage. Id. UWM singled out those lenders

 for a reason: Rocket and Fairway operated in both the retail and wholesale channels

 (Fairway has since exited the latter), and employed practices designed to convert

 wholesale borrowers into retail customers—thus cutting out brokers from future

 loans and refinancings. See Okavage, 2024 WL 982380, at *2. Those practices

 weaken the entire broker industry and hurt borrowers by depriving them of the many

 services brokers provide. UWM adopted the “All-In Initiative” to protect the

 integrity of the wholesale channel—and the brokers and borrowers it serves—from

 lenders who compete against their own brokers. See id.

       The “All-In Initiative” has already been upheld by two federal courts,

 including one in this district.   See America’s Moneyline, 2024 WL 1349301;

 Okavage, 2024 WL 982380. In America’s Moneyline, Judge Michelson adopted a

 Florida district court’s earlier finding that the “All-In Initiative” did not

 meaningfully constrain consumers, including because UWM represents just 11% of

 the mortgage lending market. America’s Moneyline, 2024 WL 1349301, at *4.

 Moreover, the Initiative implicates just two of the more than seventy lenders in the



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 wholesale mortgage channel alone. And if a broker wishes to work with Rocket or

 Fairway, which always remains an option, that broker is free to exit the Wholesale

 Broker Agreement at any time with seven days’ notice. Ex. 1, Section 7.06.

       The Lock-In Provision. The Complaint also mentions a provision of UWM’s

 Wholesale Broker Agreement that it refers to as the “Lock-In Provision.” Compl.

 ¶¶ 59–62. That contract term, variations of which are common in the industry, offers

 temporary “price protection” to brokers who wish to protect against rate increases

 during the pre-closing period by locking in UWM’s rate. Ex. 1, Section 2.03; Compl.

 ¶ 60. In exchange for a rate-lock, which shifts the risk of a rate increase to UWM,

 brokers agree not to offer the same loan to another lender “during the lock-in period.”

 Id. A rate-lock is purely “at Broker’s option”—something a broker may opt to

 forego. Id. It does not prevent brokers from shopping loans to other lenders before

 or after the lock-in period. Id. And it never binds the borrower, who is free to walk

 away from UWM’s offer and choose another lender at any time before closing.

       C.     Plaintiffs’ Lawsuit

       This Complaint was filed just days after Judge Michelson rejected the

 challenge to the “All-In Initiative” in America’s Moneyline. Within hours of that

 filing, a new “media” outfit under the name of “Hunterbrook Media” broke its debut

 story, “The Lie That Helped Make UWM America’s Largest Mortgage Lender,”

 which parrots many of the Complaint’s allegations and relies on many of the same



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 sources, quotes, and figures. Ex. 2 (Hunterbrook Report).3 The article discloses that

 Hunterbrook “entered into an agreement” with “Boies Schiller Flexner LLP” “in

 exploration of a class action lawsuit,” id. at 2—and, indeed, Hunterbrook’s logo is

 embedded in the Complaint itself. See, e.g., Compl. ¶ 69 fig. 6. The article further

 discloses that Hunterbrook’s hedge fund arm, New York-based Hunterbrook Capital,

 “shorted” UWM’s stock (a bet that the stock value would drop) and took a “long”

 position on Rocket Mortgage’s stock (a bet that the stock value would rise) just prior

 to the article’s publication. Ex. 2 at 3.

        This Hunterbrook-affiliated lawsuit is a putative class action that raises a

 kitchen-sink full of claims against UWM, its holding companies, and its CEO. The

 Complaint’s primary allegation is that UWM “orchestrat[ed] and execut[ed] a

 deliberate scheme, in coordination with a host of corrupted mortgage brokers, to

 cheat hundreds of thousands of borrowers out of billions of dollars in excess fees

 and costs that they paid to finance their homes.” Compl. ¶ 1. The Complaint alleges

 that many brokers who work with UWM refer more than 75% of their business to

 UWM and, as a result, have become “corrupted.” Id. ¶ 9. The Complaint blames

 the “All-In Initiative” and the “Lock-In Provision,” as well as UWM’s marketing

 strategies, which aim to educate borrowers about the wholesale channel’s benefits


    3
     The article’s lead author and an additional party to the agreement, Matthew
 Termine, until recently worked as general counsel to a mortgage broker affiliated
 with UWM’s long-time business adversary, Rocket Mortgage.

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 and to encourage brokers to work with UWM. E.g., id. ¶¶ 55, 59. The Complaint

 says that all of this amounts to a conspiracy that has harmed borrowers by depriving

 them of cheaper loan options their brokers should have offered them. E.g., id. ¶ 10.

        The named Plaintiffs are a married couple and two individuals who used

 different mortgage brokers in different states for different purposes. Id. ¶¶ 12–14,

 112–88. They seek to represent a nationwide class or state subclasses of individuals

 who obtained a UWM mortgage through a broker. Their nine-count complaint

 alleges RICO violations (Counts I–II), RESPA violations (Count III), aiding and

 abetting a breach of fiduciary duty (Count IV), civil conspiracy (Count V), unjust

 enrichment (Count VI), and state consumer protection violations (Counts VII–IX).

        Although the Complaint disparages the “All-In Initiative” at length, it alleges

 no facts showing that Rocket or Fairway (the only two lenders singled out by the

 “All-In Initiative”) would have offered the named Plaintiffs loans at better rates—

 much less been able to provide the efficiency, reliability, and other qualitative

 benefits that distinguish UWM. 4 To the contrary, Plaintiffs’ own data reflects that

 Rocket’s fees are generally higher than UWM’s. Id. ¶ 72. And their loan documents

 reflect that UWM offered many other benefits too. Compare, e.g., Ex. 3-1 (Schelble

 May 23, 2021 Closing Disclosure) Line B01, with Ex. 3-2 (Schelble June 1, 2021


    4
      Plaintiffs’ loan documents can be considered because they are “referred to in
 the [C]omplaint and central to the claims contained therein.” Stein, 873 F.3d at 528;
 see, e.g., Compl. ¶¶ 129–31, 156–58, 181–83.

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 Closing Disclosure) Line B (reflecting that UWM waived an appraisal for Plaintiff

 Schelble). Moreover, one Plaintiff’s contract with his mortgage broker disclaimed

 the very “agency” relationship and duties on which the Complaint relies. Ex. 4

 (Weatherill Broker Contract). And each Plaintiff received federal anti-steering

 disclosures that identify a minimum of three suitable loan options for which they

 would likely qualify and that provide a safe harbor to brokers. Exs. 5-1, 5-2, 5-3

 (Plaintiffs’ Anti-Steering Disclosures).

                                    ARGUMENT
 I.    PLAINTIFFS’         SUIT     IS      BARRED     BY     NOTICE-AND-CURE
       PROVISIONS.

       Plaintiffs’ mortgages contain notice-and-cure provisions that state:

       Neither Borrower nor Lender may commence, join, or be joined to any
       judicial action . . . that arises from the other party’s actions pursuant to
       this Security Instrument or that alleges that the other party has breached
       any provision of, or any duty owed by reason of, this Security Instrument,
       until such Borrower or Lender has notified the other party . . . of such
       alleged breach and afforded the other party . . . a reasonable period after
       the giving of such notice to take corrective action.

 Exs. 6-1 at 12, 6-2 at 11, 6-3 at 12 (Plaintiffs’ Mortgages). Each claim in this

 “judicial action” hinges on UWM’s “actions” in connection with Plaintiffs’

 mortgages. See Compl. ¶¶ 112–88 (describing each named Plaintiff’s mortgage

 relationship with UWM).          And the damages sought result from alleged

 overpayments in connection with those mortgages. See id. The Complaint also

 alleges breaches of “dut[ies] owed by reason of” those mortgages. See, e.g., id. ¶ 254



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 (alleging RESPA violations arising from breaches of a duty “[i]n connection with

 transactions involving federally-related mortgage loans”); id. ¶ 290 (alleging unjust

 enrichment on the basis of funds obtained “from their promotion and sale of

 mortgage loans”); cf. United Wholesale Mortg., LLC v. America’s Moneyline, 647 F.

 Supp. 3d 587, 595 (E.D. Mich. 2022) (analyzing similar “fraud claims” that the court

 found “would not exist absent the contract” between brokers and UWM).

       Because Plaintiffs failed to provide notice and an opportunity to cure before

 filing this suit, their Complaint must be dismissed. See, e.g., Kurzban v. Specialized

 Loan Serv., LLC, 2018 WL 1570370, at *2 (S.D. Fla. Mar. 30, 2018) (collecting cases

 and dismissing RESPA and other claims based on lack of notice); Hill v. Nationstar

 Mortg. LLC, 2015 WL 4478061, at *1 (S.D. Fla. July 2, 2015) (dismissing claims

 involving alleged kickbacks based on lack of notice); see also Moses H. Cone Mem.

 Hosp. Operating Corp. v. Conifer Physician Servs., Inc., 2017 WL 1378144, at *4

 (M.D.N.C. Apr. 11, 2017) (“North Carolina generally enforces valid notice and cure

 clauses in a contract.”); Waste Servs. of Decatur, LLC v. Cnty. of Decatur, 367 F.

 Supp. 3d 792, 812 (W.D. Tenn. 2019) (In Tennessee, “[p]ublic policy and good

 commercial reasons support the use of contractual cure provisions.”).

 II.   PLAINTIFFS’ RICO CLAIMS FAIL (COUNTS I–II).

       “In enacting RICO, Congress was trying to get the Mafia out of legitimate

 business.” David B. Sentelle, Civil RICO: The Judges’ Perspective, 12 CAMPBELL



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 L. REV. 145, 149 (1990). The statute’s combination of “treble damages, attorney’s

 fees, and federal jurisdiction” creates “a powerful incentive for plaintiffs to attempt

 to fit garden variety fraud claims within the standard of civil RICO.” Rosenson v.

 Mordowitz, 2012 WL 3631308, at *4 (S.D.N.Y. Aug. 23, 2012). But outside the

 context of organized crime, it is “the rare complaint that actually states a claim for

 civil RICO[.]” Rajaratnam v. Motley Rice, LLC, 449 F. Supp. 3d 45, 64 (E.D.N.Y.

 2020); see Gross v. Waywell, 628 F. Supp. 2d 475, 480 (S.D.N.Y. 2009) (“[T]he

 incidence of favorable judgments for RICO plaintiffs is . . . stunningly awful.”).

       “[C]ivil RICO claims are subject to demanding pleading standards.” Rogers

 v. Morrice, 2013 WL 1750004, at *6 (D.N.J. Apr. 23, 2013). And in “fairness to

 innocent parties,” courts “should strive to flush out frivolous RICO allegations”

 quickly. Figueroa Ruiz v. Alegria, 896 F.2d 645, 650 (1st Cir. 1990) (warning of the

 “inevitable stigmatizing effect on those named as [RICO] defendants”). To state a

 civil RICO claim, Plaintiffs must plead facts showing that the alleged RICO

 violation was the “proximate cause” of their injuries. In re ClassicStar Mare Lease

 Litig., 727 F.3d 473, 484 (6th Cir. 2013). In addition, they must show the existence

 of “an enterprise” that engaged in “a pattern of racketeering activity.” Id.

       Plaintiffs miss all of those marks. They fail to plead facts showing proximate

 causation, a cognizable enterprise, or underlying acts of racketeering. In addition,

 the economic loss doctrine and RESPA’s remedial scheme bar recovery. Despite



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 Plaintiffs’ “attempt to mold their claims to the RICO form,” “their injuries”—which

 have nothing to do with organized crime—“do not fall within those intended to be

 addressed” by that statute. Rosenson, 2012 WL 3631308, at *4. Dismissal is

 therefore required.

       A.     Plaintiffs Fail to Plead Proximate Causation.

       To satisfy RICO’s causation requirement, a plaintiff must “show that a RICO

 predicate offense ‘not only was a ‘but for’ cause of his injury, but was the proximate

 cause as well.’” Hemi Grp., LLC v. City of New York, N.Y., 559 U.S. 1, 9 (2010)

 (cleaned up). Proximate causation requires a “direct relation between the injury

 asserted and the injurious conduct alleged.” Id. “A ‘direct relation,’” in turn, “means

 that the injury occurred at the ‘first step’ in the causal chain.” Gen. Motors LLC v.

 FCA US LLC, 2020 WL 3833058, at *7 (E.D. Mich. July 8, 2020) (quoting Hemi

 Grp., 559 U.S. at 10), aff’d, 44 F.4th 548 (6th Cir. 2022). A causal link that is

 “insubstantial, unforeseeable, speculative, or illogical, or [arises] because of

 intervening causes” is insufficient. Collier v. LoGiudice, 818 F. App’x 506, 511 (6th

 Cir. 2020) (citation omitted); see Hemi, 559 U.S. at 10 (affirming dismissal of RICO

 claim where the plaintiff’s “theory of causation [was] far too indirect”).

       The U.S. Supreme Court articulated this critical issue in Hemi. There, the

 City of New York filed a RICO suit against a company that sold cigarettes online to

 New York residents. 559 U.S. at 4. The City alleged that the company had failed to



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 comply with a federal law requiring it to submit customer information to the State

 of New York and, as a result, that it had been unable to collect taxes based on the

 online sales. Id. at 5. The Court held that proximate cause was lacking because

 there was more than one link the causal chain: The company’s “obligation was to

 file the [tax] reports with the State, not the City, and the City’s harm was directly

 caused by the customers, not [the company].” Id. at 11.

       Applying the same principles, the Sixth Circuit and courts in this district

 routinely conclude that RICO claims fail at the pleadings stage. See, e.g., Gen.

 Motors, 2020 WL 3833058, at *7 (dismissing RICO claim where the alleged injury

 was too many steps removed from the conduct), aff’d, 44 F.4th 548; City of

 Cleveland v. Ameriquest Mortg. Sec., Inc., 615 F.3d 496, 504–06 (6th Cir. 2010)

 (affirming dismissal of RICO allegations that subprime lending “led to a foreclosure

 crisis” because the city’s injuries “could have been caused by many other factors

 unconnected to the Defendants’ conduct”); Perry v. Am. Tobacco Co., 324 F.3d 845,

 849 (6th Cir. 2003) (affirming dismissal of RICO claim because the damages were

 “contingent on harm to third parties” and thus “indirect”).5



       5
         See also, e.g., Grow Mich., LLC v. LT Lender, LLC, 50 F.4th 587, 594–97
 (6th Cir. 2022); Heinrich v. Waiting Angels Adoption Servs., Inc., 668 F.3d 393,
 405–07 (6th Cir. 2012); Kerrigan v. ViSalus, Inc., 112 F. Supp. 3d 580, 608–09 (E.D.
 Mich. 2015); Skymark Props. Corp. v. Katebian, 2022 WL 1054059, at *28 (E.D.
 Mich. Mar. 14, 2022); Am. Biocare, Inc. v. Howard & Howard Att’ys, PLLC, 2016
 WL 5661583, at *12 (E.D. Mich. Sept. 30, 2016).

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       In General Motors, for instance, a car manufacturer plaintiff alleged that

 defendants “used bribes to secure [their lead] position . . . in [collective bargaining

 agreement] negotiations (first step), which enabled [another car manufacturer] to

 negotiate its own very generous . . . [collective bargaining agreement] with the

 [union] (second step), that ensured, . . . that the [the plaintiff’s agreement] was

 ‘vastly more expensive’ . . . (third step).” 2020 WL 3833058, at *10. Because this

 theory required the court to “move well beyond the first step” in the causal chain,

 Judge Borman held that the plaintiff had failed to “satisfy RICO’s direct relationship

 requirement.” Id. (quoting Hemi Grp., 559 U.S. at 10), aff’d, 44 F.4th at 548.

       In De Los Angeles Aurora Gomez v. Bank of America, 2013 WL 12165673

 (C.D. Cal. Aug. 21, 2013), the Central District of California applied these principles

 to allegations similar to those in Plaintiffs’ Complaint. There, individuals allegedly

 injured by a mortgage broker’s Ponzi scheme asserted RICO claims against

 Countrywide, a lender with whom the broker partnered. Id. at *1–2. “The chain of

 causation from Countrywide’s alleged mail and wire frauds,” however, was “simply

 too attenuated” to support a RICO claim. Id. at *6. Although Countrywide had

 represented that the broker “had been ‘carefully screened,’” no plaintiff relied on

 that representation “in deciding to obtain a Countrywide loan.” Id. To the contrary,

 it was the broker’s “misrepresentation that induced [plaintiffs] to invest” and the

 broker that “defrauded [the p]laintiffs when he did not pay back their investments.”



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 Id. That “Countrywide intentionally gave [the broker] an ‘aura of legitimacy’” and

 “wanted to increase its market share” did not change the calculus. Id. at *7.

 Countrywide did not owe a “fiduciary duty . . . during the loan application process,”

 and the plaintiffs’ alleged injuries were not proximately caused by their lender. Id.

       Plaintiffs’ theory of causation is even more attenuated and speculative than

 those other courts have rejected. Plaintiffs allege:

    1. that “UWM employs tactics” designed to influence brokers to “steer
       borrowers into UWM mortgages,” Compl. ¶ 47;
    2. that Plaintiffs’ brokers “advised” them that they “intended to diligently survey
       the loan options available from numerous other wholesale mortgage lenders,”
       id. ¶¶ 85, 125, 125, 152, 177;
    3. that those brokers had pre-existing relationships with other lenders from
       whom they could seek other loan options, see CFPB Commentary, 12 C.F.R.
       § 1026.36(e), infra pp. 21–22;
    4. that, as a result of UWM’s tactics, the brokers failed to survey those other loan
       options and “funnel[ed]” Plaintiffs to UWM, see id. ¶122;
    5. that the brokers would have identified another more “affordable option” if
       they had surveyed additional lenders, id. ¶ 132; and
    6. that, notwithstanding the advantages of UWM’s offering, Plaintiffs would
       actually have selected a different loan among those other available options
       absent the allegedly unlawful conduct, id.

 Merely “[t]o state this theory is to show that the injury alleged is far beyond the first

 step in the causal chain.” Gen. Motors, 2020 WL 3833058, at *10. Allowing

 Plaintiffs’ RICO claims to proceed on their tenuous theory would be unprecedented.

       Just as in Bank of America, Plaintiffs do not allege that they ever saw UWM’s

 statements, much less relied on them. See Bank of America, 2013 WL 12165673, at



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 *6; cf. Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 658 (2008) (“In most

 cases, the plaintiff will not be able to establish even but-for causation if no one relied

 on the misrepresentation.”). And just as in Bank of America, there are multiple

 independent, intervening causes between Plaintiffs’ alleged injuries and UWM’s

 alleged actions. See, e.g., Compl. ¶ 125 (alleging that they “relied upon [others’]

 representations that [they] would diligently and independently shop for a loan in

 their best financial interests”); cf. Hemi, 559 U.S. at 12 (no proximate causation

 where injury was not “directly caused by” the defendant). Plaintiffs’ RICO claims

 fail for the very same reasons.

       B.     Plaintiffs Fail to Plead a RICO Enterprise.

       To allege an “association-in-fact” enterprise under 18 U.S.C. § 1961(4),

 Plaintiffs must plead facts showing an “ongoing organization” with “a purpose,

 relationships among those associated with the enterprise, and longevity” sufficient

 to carry out its goals. Boyle v. United States, 556 U.S. 938, 945-46 (2009) (cleaned

 up). As courts across the country have recognized, enterprises styled as “rimless

 hub-and-spoke” conspiracies—i.e., “parallel frauds” where all members are not

 “working together to jointly” execute a scheme—do not suffice. Root, Inc. v. Silver,

 2024 WL 85057, at *11 (S.D. Ohio Jan. 8, 2024); see, e.g., In re Ins. Brokerage

 Antitrust Litig., 618 F.3d 300, 374–75 (3d Cir. 2010) (rejecting a “steering”

 enterprise where broker alleged “bilateral agreements” with “its insurer-partners”



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 but no “collaboration among the insurers”); D’Addario v. D’Addario, 901 F.3d 80,

 101–02 (2d Cir. 2018) (collecting cases). Moreover, the enterprise must “function[ ]

 as a continuous unit.” VanDenBroeck v. CommonPoint Mortg. Co., 210 F.3d 696,

 699–700 (6th Cir. 2000).

       Plaintiffs’ alleged “Steering Enterprise” is exactly the sort of “rimless hub-

 and-spoke” conspiracy that cannot support a RICO claim. Root, 2024 WL 85057, at

 *11. According to the Complaint, UWM and its executives serve as the central

 “hub,” and each broker is a “spoke” connected to UWM through the Wholesale

 Broker Agreement. Compl. ¶¶ 210–16. Even accepting that allegation as true, there

 is no “rim” connecting the many thousands of mortgage brokers across the country

 that work with UWM. Two federal courts have already held exactly that. See

 America’s Moneyline, 2024 WL 1349301, at *2 (“[P]laintiff does not plausibly allege

 any horizontal agreement between each spoke (the brokers); only a hub (UWM) and

 vertical agreements between it and each spoke (the brokers).”); Okavage, 2024 WL

 982380, at *10 (same). For good reason: Brokers are independent businesses who

 respond to market conditions and compete with one another for business. And

 Plaintiffs allege no specific facts creating a plausible inference their brokers “were

 acting in any way but in their own independent interests.” Moss v. BMO Harris

 Bank, N.A., 258 F. Supp. 3d 289, 301 (E.D.N.Y. 2017) (cleaned up).




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       Plaintiffs’ claim also fails because it “describe[es]” a “nebulous, open-ended

 . . . enterprise.” Richmond v. Nationwide Cassel L.P., 52 F.3d 640, 645 (7th Cir.

 1995).   In VanDenBroeck, for example, a mortgage lender allegedly offered

 overpriced loans to borrowers and then sold each loan to one of “dozens of secondary

 lenders,” with the primary and secondary lenders sharing the spoils. 210 F.3d at 700.

 Because the plaintiffs did not identify some “discreet number of secondary lenders”

 with which the defendant collaborated, however, the “conspiracy could have

 transpired with any lender in the secondary lending market.” Id. As a result, the

 enterprise was “too unstable and fluid an entity to constitute a RICO enterprise.” Id.

       So too here. The Complaint identifies “[m]ortgage brokers and brokerage

 firms” as members of the so-called “Steering Enterprise.” Compl. ¶ 210. But tens

 of thousands of brokers and loan officers originate loans to UWM each year. Id.

 ¶ 67 (alleging that 28,422 “brokers” originated at least one loan to UWM in 2020).

 The Complaint likewise concedes, as it must, that thousands of brokers and loan

 officers originated loans to UWM at high rates before the “All-In Initiative” and the

 other conduct they allege. Id. ¶ 69. Plaintiffs’ attempt to connect and cast aspersions

 on thousands of unnamed and unaffiliated individuals and firms is unprecedented

 under both Sixth Circuit law and the Federal Rules. See VanDenBroeck, 210 F.3d at

 700; Fed. R. Civ. P. 8(a)(2).




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       C.     Plaintiffs Fail to Plead Predicate Acts.

       Plaintiffs’ RICO claims separately fail because they do not plead predicate

 acts of racketeering. Plaintiffs’ attempts to plead mail, wire, and honest services

 fraud fail because they do not identify actionable misrepresentations or plead facts

 showing an intent to deceive with the specificity required by Rule 9(b). They also

 cannot show a fiduciary duty, as required for honest-services fraud. And their

 attempts to plead bribery fail because Tennessee does not have an underlying bribery

 statute and because they do not plead facts showing an intent to interfere with a

 fiduciary relationship under North Carolina or Florida law.

       Fraud. To state a predicate act of fraud, Plaintiffs must “satisfy . . . Rule 9(b)”

 by “(1) specify[ing] the statements that [they] contend[ ] were fraudulent, (2)

 identify[ing] the speaker, (3) stat[ing] where and when the statements were made,

 and (4) explain[ing] why the statements were fraudulent.” Heinrich, 668 F.3d at 404

 (cleaned up). The defendant must also “possess the specific intent to deceive or

 defraud.” United States v. Frost, 125 F.3d 346, 354 (6th Cir. 1997).

       Plaintiffs come nowhere close to pleading fraud—of any variety—with the

 specificity Rule 9(b) requires. Although Plaintiffs identify specific statements by

 UWM and Ishbia, Compl. ¶ 224, they never allege that Plaintiffs—or anyone else—

 heard or relied upon those statements. So those statements cannot support proximate

 causation.   See, e.g., Kerrigan, 112 F. Supp. 3d at 608–09 (dismissing fraud



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 predicates on causation grounds where plaintiffs had not “clearly linked their losses

 to any specific act or communication by defendants”); see supra Section II.A. That

 leaves the allegations that brokers falsely “advised [Plaintiffs] that [they] would

 diligently survey the loan options available[.]” Compl. ¶¶ 125, 152, 177. But the

 Complaint does not specify where, when, or how Plaintiffs’ brokers made any such

 statement. So it fails to satisfy Rule 9(b). See, e.g., Am. BioCare Inc. v. Howard &

 Howard Att’ys PLLC, 702 F. App’x 416, 421–23 (6th Cir. 2017) (dismissing RICO

 claims for failing to satisfy Rule 9(b) for predicate acts).

       Plaintiffs also fail to plausibly allege that Defendants had a “specific intent to

 deceive or defraud.” Frost, 125 F.3d at 354. Plaintiffs fault their mortgage brokers

 for failing to disclose that they signed the “All-In Initiative” and that they send a

 high percentage of their loans to UWM. Compl. ¶¶ 127, 154, 179. But alleging

 circumstances that are not themselves “indicative of malintent on the part of

 [defendants]” does not support an inference of specific intent. Raymo v. FCA US

 LLC, 475 F. Supp. 3d 680, 703–04 (E.D. Mich. 2020) (dismissing RICO claim on

 this basis). And those facts do not suggest fraudulent steering on behalf of the

 brokers—much less intent to deceive on the part of UWM. Far from requiring that

 brokers survey every possible lender in the universe, federal regulations specifically

 contemplate that brokers can focus on a small number of lenders. See CFPB

 Commentary, 12 C.F.R. § 1026.36(e) (noting that “three or more . . . creditors” is a



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 “significant number of . . . creditors” and that § 1026.36(e) “does not require a loan

 originator to establish a business relationship with any creditor with which the loan

 originator does not already do business”). And the mere fact that UWM—like every

 wholesale lender—seeks to foster relationships with mortgage brokers does not

 show an intent to defraud. See, e.g., Compl. ¶¶ 135, 162, 187, 225(b).

       Plaintiffs’ nod to “honest services fraud,” Compl. ¶ 223, fails for an additional

 reason. In the context of private parties, a claim for fraud of this type presupposes

 the existence of a fiduciary duty. See Frost, 125 F.3d at 366 (citing Morda v. Klein,

 865 F.2d 782, 785 (6th Cir. 1989)). As explained below, no such duty exists. See

 infra Section IV.B.

       Bribery. Plaintiffs’ bribery theory fares no better. The Travel Act prohibits

 the use of interstate commerce to “promote, manage, establish, [or] carry on . . .

 unlawful activity.” 18 U.S.C. § 1952(a)(3). Plaintiffs theorize that UWM violated

 state bribery laws—and thus the Travel Act—by giving bribes to brokers who

 allegedly steered loans to UWM in return. Compl. ¶¶ 225–26. But Plaintiffs fail to

 plead a predicate act of bribery under any state’s law.

       As an initial matter, Plaintiffs only invoke North Carolina and Florida

 commercial bribery statutes because Tennessee has no such law. Id. That bars any

 Travel Act predicate for the Escues—who refinanced their home in Tennessee—




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 because the Travel Act defines “bribery” as an “unlawful activity” only if “in

 violation of the laws of the State in which committed.” 18 U.S.C. § 1952(b)(i)(2).

       As for the other Plaintiffs, the North Carolina and Florida bribery laws require

 intent to interfere with a fiduciary relationship. See N.C. Gen. Stat. § 14-353; Fla.

 Stat. Ann. §§ 838.15–16. As explained below, infra Section IV.B, Plaintiffs and their

 brokers had no such relationship. But even assuming they did, Plaintiffs do not

 plausibly allege that UWM intended to interfere with it. Many of the alleged “things

 of value” in the Complaint—like UWM’s “Brand 360”; the MortgageMatchup.com

 directory; and alleged points in the PRO Ranking Score system for “campus visits,”

 “watching UWM videos,” and “communicating with [UWM] account executive[s],”

 Compl. ¶¶ 94–97, 110 & fig. 13—do not require brokers to originate any specific

 number of loans with UWM. Although the PRO Ranking Score system offers some

 points for loans submitted using UWM’s in-house tools and “Memory Makers”

 ordered along with UWM loans, id. ¶ 98, those run-of-the mill incentives are both

 trivial and entirely lawful. See id. ¶ 96 fig. 13 (showing that points for “Ultimate

 Loan Submissions” stop after six loans per month and points for “Memory Makers”

 are capped at a percentage of loans submitted to UWM). Indeed, Plaintiffs allege

 that providing “incentives for doing particularly high volume” is normal industry

 practice. Id. ¶ 75. And they plead no facts showing that UWM took any specific

 action intended to interfere with the relationship between Plaintiffs and their brokers.



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       D.    The Economic Loss Doctrine Precludes Recovery.

       Plaintiffs’ RICO claims are also barred by the economic loss doctrine. This

 well-established principle precludes recovery in tort for economic losses “more

 appropriately assigned to contract law.” RESTATEMENT (THIRD) OF TORTS: PROD.

 LIAB. § 21 cmt. a; RESTATEMENT (THIRD) OF TORTS: LIAB. FOR ECON. HARM § 3; see

 also E. River Steamship Corp. v. Transamerica Delaval, Inc., 476 U.S. 858, 873–75

 (1986) (applying the federal economic loss rule); Hart v. Ludwig, 79 N.W.2d 895,

 897–98 (Mich. 1956) (applying Michigan’s similar rule). It extends to claims that

 sound in fraud. See RESTATEMENT (THIRD) OF TORTS: LIAB. FOR ECON. HARM § 3

 cmt b; America’s Moneyline, 647 F. Supp. 3d at 595. And it bars RICO claims that

 are “factually indistinguishable from breach of contract claims.” Llewellyn-Jones v.

 Metro Prop. Grp., 22 F. Supp. 3d 760, 778–80 (E.D. Mich. 2014) (considering RICO

 claims under the economic loss doctrine but deciding them on a separate basis).

       Plaintiffs’ RICO claims go to the heart of the contractual relationship between

 Plaintiffs and UWM. At their core, these claims target the rates and fees Plaintiffs

 paid to UWM pursuant to their mortgage agreements and seek to “undo the terms of

 [their contractual] relationship.” RESTATEMENT (THIRD) OF TORTS: LIAB. FOR ECON.

 HARM § 3 cmt b. And the predicate acts on which Plaintiffs rely amount to “general

 fraud claims” that “would not exist absent the [mortgage] contract” with UWM.




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 America’s Moneyline, 647 F. Supp. 3d at 595 (cleaned up). Accordingly, the

 economic loss doctrine bars their RICO claims.

       E.     RESPA Precludes Any Remedies Under RICO.

       Finally, Plaintiffs’ RICO claims should be dismissed because RESPA

 precludes them. “In a variety of contexts the Supreme Court has held that a precisely

 drawn, detailed statute precludes more general remedies.” Torres v. Vitale, 954 F.3d

 866, 871 (6th Cir. 2020) (quoting EC Term of Years Trust v. United States, 550 U.S.

 429, 433 (2007)); see also Mich. Corr. Org. v. Mich. Dep’t Corr., 774 F.3d 895, 904

 (6th Cir. 2014) (“The provision of an express, private means of redress in the statute

 itself is ordinarily an indication that Congress did not intend to leave open a more

 expansive remedy . . . .”). Applying this precedent, the Sixth Circuit has held, for

 example, that “the FLSA’s detailed remedial scheme precludes” “[RICO] claims”

 “seeking damages for wage and hour violations.” Torres, 954 F.3d at 876.

       In this case, Plaintiffs’ RICO claims depend upon the existence of a supposed

 “Steering Enterprise” by which mortgage brokers received inducements in exchange

 for steering loans to UWM. Compl. ¶¶ 210–16. But RESPA already provides a

 detailed statutory and regulatory framework for determining the existence of

 unlawful “steering” arrangements. See 12 U.S.C. § 2607(c); 12 C.F.R. §§ 1024.14–

 15. Plaintiffs’ RICO theory hinges on allegations of acts that RESPA prohibits, 12

 U.S.C. § 2607 (prohibiting “thing[s] of value pursuant to any agreement to refer



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 mortgage business”), and seeks remedies that RESPA provides, id. § 2607(d)(2)

 (permitting damages for “amount of any charge paid for [a] settlement service”).

 Compare Compl. ¶¶ 228, 230, with id. ¶¶ 261–62. RESPA’s “precisely drawn,

 detailed” remedial scheme thus “precludes more general remedies” available under

 RICO. Torres, 954 F.3d at 871.

III.   PLAINTIFFS’ RESPA CLAIMS FAIL (COUNT III).

       In addition to precluding the RICO claims, Plaintiffs’ RESPA claims fail for

 two of their own reasons: The claims are time-barred, and Plaintiffs do not

 adequately allege a statutory violation.

       Claims under § 2607 are subject to a one-year statute of limitations. 12 U.S.C.

 § 2614. Each of the mortgages at issue here closed more than one year before this

 lawsuit was filed on April 2, 2024. Compl. ¶¶ 129, 156, 181. “[T]he allegations in

 the complaint [thus] affirmatively show that [Plaintiffs’ RESPA] claim[s] [are] time-

 barred.” Cataldo v. U.S. Steel Corp., 676 F.3d 542, 547 (6th Cir. 2012) (citing Jones

 v. Bock, 549 U.S. 199, 215 (2007)). At least one Court of Appeals has held that

 RESPA’s statute of limitations is jurisdictional and not subject to equitable tolling.

 See Hardin v. City Title & Escrow Co., 797 F.2d 1037, 1041 (D.C. Cir. 1986). But

 even assuming equitable tolling were available, Plaintiffs have not alleged facts

 sufficient to support the application of that doctrine here. See, e.g., Ball v. Fed. Nat’l

 Mortg. Assoc., 2016 WL 4702585, at *6 (E.D. Mich. Sept. 8, 2016) (dismissing time-



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 barred RESPA claims where plaintiff did not allege that defendants took “affirmative

 acts” to conceal the claims); Simms v. CIT Grp./Consumer Fin., 2009 WL 973011,

 at *7 (W.D. Tenn. Apr. 9, 2009) (dismissing time-barred RESPA claims where

 plaintiffs failed to allege due diligence, such as seeking “independent advice about

 the loan terms” from “another mortgage broker”).

       In any event, Plaintiffs’ claims also fail on the merits because they do not

 adequately allege a violation of § 2607(a) or (b). Section 2607(a), the anti-kickback

 provision, requires a plaintiff to plead “(1) a payment or thing of value; (2) made

 pursuant to an agreement to refer settlement business; and (3) an actual referral.”

 Egerer v. Woodland Realty, Inc., 556 F.3d 415, 427 (6th Cir. 2009) (cleaned up). To

 do that, a plaintiff must allege “specifics as to the date, time, or amount” of the

 supposed kickback. Galiano v. Fidelity Nat’l Title Ins. Co., 684 F.3d 309, 315 (2d

 Cir. 2012). “[R]elying on a supposed industry-wide practice” is not enough. Id.

 And that is what Plaintiffs attempt to do here. See, e.g., Compl. ¶ 75 (alleging that

 “incentives for doing particularly high volume” are an industry norm). Because

 Plaintiffs do not plead facts showing that specific brokers received a specific

 kickback in return for referring their specific business, their § 2607(a) claim fails.

       Section 2607(b), in turn, prohibits arrangements where mortgage brokers

 receive a split of origination fees as compensation for anything other than “services

 actually performed.” Plaintiffs do not dispute that brokers performed services for



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 Plaintiffs, and they plead no facts showing that any portion of the brokers’ fees was

 attributable to something other than those services. Because Plaintiffs have therefore

 failed to allege an illegal fee-splitting arrangement, § 2607(b) does not apply.

IV.    PLAINTIFFS’ AIDING-AND-ABETTING                       AND      CONSPIRACY
       CLAIMS FAIL (COUNTS IV–V).

       Plaintiffs’ aiding-and-abetting and civil conspiracy claims fail for a host of

 overlapping reasons. For starters, both sets of claims are governed by state law—

 not common law, as Plaintiffs contend. Most of the aiding-and-abetting claims do

 not even get off the starting block because North Carolina does not recognize a cause

 of action for aiding and abetting a breach of fiduciary duty and because the North

 Carolina and Florida claims are barred by the economic loss doctrine. Those claims

 all fail on the merits, in any event. As for conspiracy, Plaintiffs fail to allege an

 underlying tort or plead facts showing a conspiratorial agreement.

       A.     These Claims Are Governed by State Law.

       Plaintiffs argue that their claims should be governed by “common law”

 because there are no “case-dispositive differences” under state law. Compl. ¶¶ 264,

 275. But there is no such thing as federal common law aiding-and-abetting or

 conspiracy claims in this context. Cf. Atherton v. F.D.I.C., 519 U.S. 213, 216, 225–

 26 (1997). In any event, Plaintiffs’ premise is mistaken: As explained below, Florida

 law, North Carolina law, and Tennessee law differ in many meaningful respects.

 Plaintiffs’ “alternative” request to consider these claims under the laws of the states


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 in which they obtained their mortgages is the only correct approach.               See

 RESTATEMENT (SECOND) OF CONFLICT OF LAWS § 291; Chrysler Corp. v. Skyline

 Indus. Servs., Inc., 448 Mich. 113, 125 (1995) (adopting Restatement view).

       B.     The Aiding-and-Abetting Claims Fail.

       Plaintiffs’ Florida and North Carolina claims for aiding and abetting a breach

 of fiduciary duty fail for two threshold reasons. First, North Carolina does not

 recognize such a claim as a matter of law. BDM Invs. v. Lenhil, Inc., 264 N.C. App.

 282, 302 (2019). Second, under both Florida and North Carolina law, the economic

 loss doctrine bars fiduciary duty–based claims unless the damages alleged are

 “independent, separate and distinct from the damages sustained from [a] contract’s

 breach.” 777 Partners LLC v. Pagnanelli, 2021 WL 2038175, at *3 (S.D. Fla. Mar.

 8, 2021) (quoting Peebles v. Puig, 223 So. 3d 1065, 1068 (Fla. Dist. Ct. App. 2017));

 see Ramsey v. Bimbo Foods Bakeries Distrib., 2015 WL 1611339, at *6 (E.D.N.C.

 Apr. 10, 2015). Because Plaintiffs’ claims “arise out of [the brokers’] performance

 under the terms of the[ir] contract[s]” with Plaintiffs, those claims are barred by the

 economic loss doctrine. Ramsey, 2015 WL 1611339, at *6.

       Plaintiffs also fail to state a claim on the merits under any relevant body of

 law. There are at least four elements to an aiding-and-abetting claim in Florida and

 Tennessee: “(1) a fiduciary duty on the part of the wrongdoer; (2) a breach of

 fiduciary duty; (3) knowledge of the breach by the alleged aider and abettor; and (4)



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 the aider and abettor’s substantial assistance or encouragement of the wrongdoing.”

 MP, LLC v. Sterling Holding, LLC, 231 So. 3d 517, 527 (Fla. Dist. Ct. App. 2017);

 see PNC Multifamily Cap. Inst. Fund v. Bluff Cty. Cmty. Dev. Corp., 387 S.W.3d

 525, 552 (Tenn. Ct. App. 2012) (similar). Plaintiffs satisfy none of these elements.

        First, Plaintiffs’ mortgage brokers owed them no fiduciary duty. In none of

 the relevant jurisdictions can a plaintiff allege a cause of action on the basis that

 mortgage brokers are per se fiduciaries as a matter of law.6 Plaintiffs must therefore

 “allege a set of facts” showing that they “reposed an unusual degree of trust and

 confidence” in their brokers to establish that a duty existed as a matter of fact. Oak

 Ridge Precision Indus., Inc., v. First Tenn. Bank N.A., 835 S.W.2d 25, 30 (Tenn. Ct.

 App. 1992); see Cordero v. Transamerica Annuity Serv. Corp., 452 F. Supp. 3d

 1292, 302 (S.D. Fla. 2020) (“[C]ourts typically do not construe . . . ‘arms-length’

 relationships . . . created through contract[] as implying a fiduciary duty”). But one

 of the broker contracts expressly disclaims the duties alleged by Plaintiffs, Ex. 4,

 and all of them were accompanied by extensive, arms-length disclosures. See, e.g.,



    6
      Although one North Carolina statute references a duty of loyalty for mortgage
 brokers, N.C. Gen. Stat. Ann. § 53-244.109, that statute does not create a private
 right of action. Gardner v. Bank of N.Y. Mellon, 2014 WL 12623069, at *4
 (E.D.N.C. Feb. 24, 2014). In any event (and again), North Carolina does not
 recognize claims for aiding and abetting a breach of fiduciary duty. See BDM Invs.,
 264 N.C. App. at 302. And even if it did, the statute permits some brokers to act
 “exclusively for a single mortgage lender,” § 53-244.030(11a), so Plaintiffs’
 allegations do not implicate a breach of any duty arising therefrom.

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 Exs. 3-2, 7, 8 (Plaintiffs’ Closing Disclosures); see Kipnis v. Bayersiche Hypo-Und

 Vereinsbank, AG, 2017 WL 11103938, at *11 (S.D. Fla. June 26, 2017) (“Generally,

 no fiduciary relationship exists where a contract unambiguously disclaims the

 possibility of a fiduciary relationship.”); SFM Holdings, Ltd. v. Banc of Am. Sec.,

 LLC, 2007 WL 7124464, at *7 (S.D. Fla. Feb. 12, 2007) (similar), aff’d, 600 F.3d

 1334 (11th Cir. 2010). And Plaintiffs identify no specific facts that would justify

 the recognition of a fiduciary duty on the facts of their cases. Cf. Amaral v. Crown

 Mortg. Grp. & Assocs., 2008 WL 1994841, at *3–4 (S.D. Fla. May 5, 2008) (finding

 mortgage broker owed no fiduciary duties to one of the plaintiffs where no prior

 relationship existed, forms disclosed all information, and he understood English).

       Second, Plaintiffs fail to plead a breach of any such fiduciary duty. They

 suggest that such a breach occurred because (1) brokers betrayed their customers to

 earn UWM’s perks, and (2) brokers did not disclose that they would not shop loans

 to Rocket and Fairway. Compl. ¶¶ 266–69. But even crediting Plaintiffs’ allegations

 regarding UWM’s incentives, they concede that providing “incentives for doing

 particularly high volume” is normal industry practice. Id. ¶ 75. And they nowhere

 plead facts showing that they would have saved money with Rocket or Fairway—or

 that any specific provider used by the brokers at issue would have offered them better

 service or qualitative benefits. Moreover, Plaintiffs’ loan documents reflect that




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 their brokers provided federal anti-steering disclosures, which provide brokers a safe

 harbor from any steering-related claims. Exs. 5-1, 5-2, 5-3.

       Third, Plaintiffs did not plead facts showing that Defendants had “actual

 knowledge” of any actionable breach. Lamm v. State Street Bank & Trust, 749 F.3d

 938, 950 (11th Cir. 2014); Prime Health Servs., Inc. v. Cap. Bank, N.A., 2017 WL

 1064360, at *4–5 (M.D. Tenn. Mar. 21, 2017). To clear that bar, Plaintiffs must

 plausibly allege that Defendants knew of “specific wrongdoing against [Plaintiffs],”

 not just red flags or knowledge that “something was wrong in general.” El Camino

 Res., Ltd. v. Huntington Nat’l Bank, 722 F. Supp. 2d 875, 922 (W.D. Mich. 2010)

 (collecting cases), aff’d, 712 F.3d 917 (6th Cir. 2013). Plaintiffs’ barebones recital

 of “actual knowledge,” Compl. ¶ 270, therefore does not suffice. And Plaintiffs

 cannot plausibly allege that UWM knew that brokers would breach specific fiduciary

 duties they supposedly owed to Plaintiffs in particular.

       Fourth, Defendants did not give “substantial assistance.” To qualify as

 substantial assistance, a defendant’s aid to the breacher must have “proximately

 caused the violation.” Aetna Cas. & Sur. Co. v. Leahey Constr. Co., 219 F.3d 519,

 537 (6th Cir. 2000) (internal quotation marks omitted). Again, Plaintiffs allege that

 “incentives for doing particularly high volume” are an ordinary practice, Compl.

 ¶ 75, and never plead facts showing that either Rocket and Fairway would have

 offered them a better deal. At best, Plaintiffs allege that UWM acted pursuant to



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 broad policies and that independent brokers—seeking to maximize their own

 profits—responded to those policies. Defendants’ conduct is not the proximate

 cause of any individual broker’s alleged breach for the same reason that Plaintiffs’

 RICO claims fail for lack of causation. See supra Section II.A.

        C.    The Civil Conspiracy Claims Fail.

        Civil conspiracy requires an actionable, underlying tort. See, e.g., Posner v.

 Essex Ins. Co., Ltd., 178 F.3d 1209, 1217 (11th Cir. 1999); Toomer v. Garrett, 155

 N.C. App. 462, 483 (2002). Plaintiffs’ civil conspiracy claims attempt to piggyback

 on their aiding-and-abetting claims, and thus fail for the same reasons those claims

 do.7 See supra Section IV.B.

        Even assuming Plaintiffs could plead an underlying tort, they fail to plausibly

 allege a “conspiratorial agreement.” Alhassid v. Bank of Am., N.A., 60 F. Supp. 3d

 1302, 1319 (S.D. Fla. 2014). Defendants make the conclusory allegation that

 “UWM entered into one or more express or implied agreements with mortgage

 brokers for the purpose of breaching fiduciary duties owed to Plaintiffs.” Compl.

 ¶ 280. But the only factual allegations in support of that conclusion relate to UWM’s

 Wholesale Broker Agreement. And the fact that Defendants entered into that



    7
      That includes the state-law specific grounds. Most notably, because these
 allegations “relate directly to [Plaintiffs’] claims for aiding and abetting breach of
 fiduciary duty,” they are not cognizable under North Carolina law. Noblee Bottling,
 LLC v. Gora LLC, 2023 WL 4750124, at *2–3 (W.D.N.C. July 25, 2023).

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 agreement, “absent any allegations of [a separate] agreement to conspire, cannot

 alone support Plaintiffs’ conclusory assertion that Defendants ‘engaged in a

 conspiracy.’” Alhassid, 60 F. Supp. 3d at 1319. “Without more, parallel conduct

 does not suggest conspiracy, and a conclusory allegation of agreement at some

 identified point does not supply facts adequate to show illegality.” Bell Atl. Corp.

 v. Twombly, 550 U.S. 544, 556–57 (2007); see supra Section II.B (addressing

 absence of a RICO enterprise).

 V.    PLAINTIFFS’ CONSUMER                     PROTECTION         CLAIMS        FAIL
       (COUNTS VII–IX).

       Plaintiffs’ claims based on the North Carolina, Tennessee, and Florida

 consumer protection statutes fail for a common reason: All three statutes impose

 Rule 9(b)’s heightened pleading standard where, as here, the complaint sounds in

 fraud. See Topshelf Mgmt., Inc. v. Campbell-Ewald Co., 117 F. Supp. 3d 722, 729

 (M.D.N.C. 2015); State Farm Mut. Auto. Ins. Co. v. Performance Orthopaedics, 278

 F. Supp. 3d 1307, 1328 (S.D. Fla. 2017); Bridgestone Am.’s, Inc. v. Int’l Bus. Mach.

 Corp., 172 F. Supp. 3d 1007, 1019 (M.D. Tenn. 2016). Because Plaintiffs fail to

 satisfy Rule 9(b), see supra Section II.C, their consumer protection claims all fail.

       Each claim also fails for its own reasons. Start with the Tennessee claim. The

 TCPA does not apply to “credit terms of a transaction.” Tenn. Code. Ann. § 47-18-

 111(a)(3), and Tennessee courts have consistently held that claims concerning home

 refinancing implicate the “credit terms of a transaction” for purposes of the TCPA.


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 Yousefzadeh v. Wells Fargo Bank, N.A., 2023 WL 105092, at *3 (M.D. Tenn. Jan.

 4, 2023) (collecting cases). Accordingly, the TCPA does not apply. Even if it did,

 the TCPA bars class actions. See Tenn. Code. Ann. § 47-18-109(g); Estate of

 Pilgrim v. Gen. Motors LLC, 344 F.R.D. 381, 405–406 (E.D. Mich. 2023).

       Next consider the Florida claim, which fails for three additional reasons.

 First, FDUTPA’s “trade or commerce” element is limited to “advertising, soliciting,

 providing, offering, or distributing, whether by sale, rental, or otherwise, of any good

 or service, or any property[.]”       Fla. Stat. Ann. § 501.203(8).        A “lending

 relationship” does not come within that definition. Merrill Lynch Bus. Fin. Servs.,

 Inc. v. Performance Mach. Sys. U.S.A., Inc., 2005 WL 975773, at *9 (S.D. Fla. Mar.

 4, 2005) (citing Shibata v. Lim, 133 F. Supp. 2d 1311, 1320 (M.D. Fla. 2000) (“The

 parties cite no authority indicating that [F]DUTPA was intended to apply to

 loans.”)). Second, a Florida court has already dismissed FDUTPA claims based on

 UWM’s “All-In Initiative” in part because there was no “harm[]” to “the overall

 mortgage market” or even the “wholesale market.” See Okavage, 2024 WL 982380,

 at *17–20. Third, FDUTPA is only “a simplified statutory cause of action” to

 provide remedies “in addition to other remedies already available.” Hunter v. Bev

 Smith Ford, LLC, 2008 WL 1925265, at *7 (S.D. Fla. Apr. 29, 2008). Because

 Plaintiffs’ other claims fail, so does their FDUTPA claim. See id.; JES Props., Inc.

 v. USA Equestrian, Inc., 2005 WL 1126665, at *19 & n.23 (M.D. Fla. May 9, 2005).



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       The North Carolina claim fails for similar reasons. First, N.C. Gen. Stat. § 75-

 1.1 requires Plaintiffs to plead facts showing “reliance” and “proximate[ ]

 caus[ation].” Bumpers v. Cmty. Bank of N. Va., 367 N.C. 81, 87–88 (2013). As

 already explained, they have done neither. See supra Section II.A. Second, to the

 extent Plaintiffs’ claims are premised on North Carolina’s commercial bribery

 statute, Compl. ¶ 302, those claims fail for the reasons explained above. See supra

 Section II.C. Third, the North Carolina claim, like the Florida claim, must fall with

 the others “because [it] is based on the same allegations.” Hutton v. Hydra-Tech,

 Inc., 2018 WL 1363842, at *8 (M.D.N.C. Mar. 15, 2018).

VI.    PLAINTIFFS’ UNJUST ENRICHMENT CLAIMS FAIL (COUNT VI).

       Finally, Plaintiffs cannot pursue unjust enrichment claims because there is “an

 express contract governing the same parties and the same course of conduct.”

 Wrightsville Beach Prop., LLC, v. Attwa, 2023 WL 8100189, at *9 (E.D.N.C. Nov.

 21, 2023). It is clear “on the face of the Complaint” that Plaintiffs entered into

 mortgage contracts governing these transactions; they do not dispute those contracts’

 validity; and they do not plead facts showing “that no adequate remedy at law

 exists.” Brett v. Toyota Motor Sales, U.S.A, 2008 WL 4329876, at *8 (M.D. Fla.

 Sept. 15, 2008). Because Plaintiffs’ unjust enrichment claims rely on the same

 allegations as their other claims, Plaintiffs cannot proceed on an unjust enrichment

 theory. Guerrero v. Target Corp., 889 F. Supp. 2d 1348, 1356–57 (S.D. Fla. 2012)



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 (dismissing unjust enrichment claim based on the same alleged conduct as FDUTPA

 claim); M.D. Russell Constr., Inc. v. Consol. Staffing, Inc., 2022 WL 875993, at *13

 (E.D.N.C. Mar. 23, 2022) (dismissing where related breach of contract claim

 failed).8

VII.    ALL CLAIMS AGAINST THE NON-UWM DEFENDANTS SHOULD
        BE DISMISSED.

        In all events, United Wholesale Mortgage, LLC, is the only proper Defendant.

 Even assuming some claims survive against UWM (they should not), all claims

 against the remaining Defendants—UWM’s holding companies, UWM Holdings

 Corp. and SFS Holding Corp. (collectively, the “Holding Company Defendants”),

 and its CEO, Mat Ishbia—must be dismissed. The claims against Mr. Ishbia—a

 prominent figure who owns an NBA team—are particularly meritless, and only

 underscore that negative media attention was this suit’s primary goal.

        RICO Claims (Counts I–II). “Each Defendant is entitled to an individualized

 analysis of his, her, or its own RICO liability.” Kerrigan, 112 F. Supp. 3d at 602.

 “‘[S]hotgun’ allegations” do not suffice. Id. at 601; see State Farm Mut. Auto. Ins.

 Co. v. Universal Health Grp., Inc., 2014 WL 5427170, at *2–3 (E.D. Mich. Oct. 24,

 2014) (A RICO plaintiff cannot “generally assert all claims against all defendants.”).



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     Plaintiffs’ Tennessee law claim fails for the additional reason that they failed to
 exhaust potential remedies against all parties with whom they had privity of contract.
 See Freeman Indus., LLC v. Eastman Chem. Co., 172 S.W.3d 512, 525 (Tenn. 2005).

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 And Plaintiffs must plead a “causal connection between their injuries and predicate

 acts committed by each Defendant.” Id. at 608 (emphasis added); accord Skymark

 Props. Corp. v. Katebian, 2022 WL 1054059, at *28 (E.D. Mich. Mar. 14, 2022).

       Plaintiffs do not even name the Holding Company Defendants as members of

 the alleged “Steering Enterprise,” much less allege that they took any action relevant

 to their RICO claims. Compl. ¶¶ 15–19, 210; see Kerrigan, 112 F. Supp. 3d at 604

 (dismissing claims against “stock holding company” where no direct involvement

 was alleged). As for Ishbia, his alleged involvement with the “Steering Enterprise”

 is limited to alleged misstatements made well before Plaintiffs ever obtained their

 mortgages. Compl. ¶ 224(d)–(f). Plaintiffs never pleaded that they heard, received,

 or relied upon any of these statements. See supra Sections II.A, C. So the RICO

 claims fail with respect to him as well. See Kerrigan, 112 F. Supp. 3d at 608–09

 (dismissing defendants on causation grounds where plaintiffs did not “allege[] that

 they personally received or viewed” any “communications” from those defendants).

       RESPA Claims (Count III). Plaintiffs have not asserted RESPA claims

 against the Holding Company Defendants or Ishbia. Compl. ¶ 248.

       Aiding and Abetting & Conspiracy Claims (Counts IV–V).                   Plaintiffs’

 allegations with respect to aiding and abetting and civil conspiracy pertain

 exclusively to UWM’s own alleged actions. Compl. ¶¶ 263–83. It is a “general

 principle of corporate law” that a “parent corporation . . . is not liable for the acts of



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 its subsidiaries.” United States v. Bestfoods, 524 U.S. 51, 61 (1998). And “[o]fficers

 of a corporation are not liable for corporate acts simply by reason of the officer’s

 relation to the corporation.” E & A Produce Corp. v. Olmo, 864 So.2d 447, 448 (Fla.

 Dist. Ct. App. 2003); see also Wolfe v. Wilmington Shipyard, Inc., 135 N.C. App.

 661, 670 (1999); Schlater v. Haynie, 833 S.W.2d 919, 924 (Tenn. Ct. App. 1991).

       Consumer Protection Claims (Counts VII–IX).              Plaintiffs’ consumer

 protection claims refer generally to “Defendants.” Compl. ¶¶ 294–332. Yet again,

 however, their allegations relate exclusively to UWM’s alleged actions. Id. ¶¶ 299,

 301, 312, 315, 327, 329. Like RICO claims, fraud-based claims cannot group “all

 of the individual defendants into one wrongdoing monolith.” Llewellyn-Jones, 22

 F. Supp. 3d at 780. They must identify each defendant’s alleged wrongdoing with

 specificity. See id. Because Plaintiffs do not plead facts showing that the non-UWM

 Defendants were “direct participant[s] in the improper dealings,” their consumer

 protection claims against those Defendants must be dismissed. KC Leisure, Inc. v.

 Haber, 972 So.2d 1069, 1074 (Fla. Dist. Ct. App. 2008); see also Jenkins v. Marvel,

 683 F. Supp. 2d 626, 631 (E.D. Tenn. 2010); Wolfe, 135 N.C. App. at 670.

       Unjust Enrichment Claims (Count VI).               Finally, Plaintiffs’ unjust

 enrichment claims fail against the non-UWM Defendants because they do not plead

 facts showing that any of those Defendants was actually enriched. Compl. ¶¶ 284–

 93 (referring to “Defendants” generally). Plaintiffs paid UWM, not the Holding



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 Company Defendants or Ishbia. Because the non-UWM Defendants obtained no

 “direct” or “measurable” benefit, Plaintiffs cannot pursue an unjust enrichment

 claim against them. See Extraordinary Title Servs., LLC v. Fla. Power & Light Co.,

 1 So.3d 400, 404 (Fla. Dist. Ct. App. 2009) (requiring a “direct” benefit and

 dismissing unjust enrichment claim against corporate parent where plaintiff paid

 subsidiary); Story v. Meadows, 2020 WL 7779038, at *9 (Tenn. Ct. App. Dec. 22,

 2020) (dismissing unjust enrichment claim where no “measurable benefit” was

 conferred on the defendant); Town of Carolina Shores v. Cont’l Ins. Co., 2010 WL

 4338437, at *4 (E.D.N.C. Oct. 26, 2010) (same).

                                    CONCLUSION
       For the foregoing reasons, Defendants respectfully request that the Court grant

 this Motion and dismiss the Complaint with prejudice.

  Dated: June 21, 2024                      Respectfully submitted,
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                          CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2024, I caused the foregoing document to be

 filed with the Clerk of the Court using CM/ECF, which will effectuate service upon

 all counsel of record.


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